    Case 2:21-cv-01530-AMM        Document 439   Filed 01/28/25   Page 1 of 4            FILED
                                                                                2025 Jan-28 PM 04:03
                                                                                U.S. DISTRICT COURT
                                                                                    N.D. OF ALABAMA


                    UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF ALABAMA
                         SOUTHERN DIVISION


BOBBY SINGLETON, et al.,
          Plaintiffs,

              v.
                                                    Case No. 2:21-cv-01291-AMM
WES ALLEN, in his official capacity as
Alabama Secretary of State,                           THREE-JUDGE COURT
            Defendant.




EVAN MILLIGAN, et al.,
          Plaintiffs,

              v.
                                                    Case No. 2:21-cv-01530-AMM
WES ALLEN, in his official capacity as
Alabama Secretary of State,                           THREE-JUDGE COURT
            Defendant.




MARCUS CASTER, et al.,
         Plaintiffs,

              v.
                                                    Case No.: 2:21-cv-1536-AMM
WES ALLEN, in his official capacity as
Alabama Secretary of State,
            Defendant.




Before MARCUS, Circuit Judge, MANASCO and MOORER, District Judges.

BY THE COURT:
     Case 2:21-cv-01530-AMM       Document 439     Filed 01/28/25   Page 2 of 4




                                     ORDER

      These congressional redistricting cases are before the Court on joint motions

by all parties for the Court to approve stipulations regarding the prior testimony of

certain fact witnesses in Alabama State Conference of the NAACP v. Allen, Case No.

2:21-cv-1531-AMM, and to preadmit stipulated exhibits for trial. Singleton Doc.

280; Milligan Doc. 433; Caster Doc. 343. In their motions, the parties stipulate that

the Court may consider the trial transcript testimony as well as the impressions of

Judge Manasco regarding the live in-court testimony of the following fact witnesses

in Alabama State Conference of the NAACP:

   1. Col. Jon Archer

   2. Valerie Branyon

   3. Cedric Coley

   4. Scott Douglas

   5. Dr. Karen Landers, M.D.

   6. Bill McCollum

   7. Benard Simelton

   8. Tari Williams

Milligan Doc. 433 at 2.

      The prior testimony is judicially noticeable, see Grayson v. Warden, Comm’r,

Ala. DOC, 869 F.3d 1204, 1224–25 (11th Cir. 2017), but the Court shall not be


                                         2
     Case 2:21-cv-01530-AMM       Document 439      Filed 01/28/25   Page 3 of 4




preemptively limited to the impressions of Judge Manasco sitting alone. To that end,

the Court will admit and consider the portions of the trial transcript that the parties

designate, independently make its own determinations about what weight to afford

each witness and what inferences it may draw from that trial transcript, and may ask

the parties to call any of these witnesses live for purposes of credibility

determinations only as may be necessary.

      Therefore, for good cause, these motions are GRANTED in part, the Court

ADMITS the prior testimony pursuant to the terms described above, and the Court

ORDERS the following:

      1.     The parties shall file the designated portions of prior testimony from

Alabama State Conference of the NAACP referenced in their motions, and which

they agree are judicially noticeable, into the record in these cases on or before

JANUARY 30, 2025. Any such testimony filed by the parties in one of these three

congressional redistricting cases is DEEMED filed in the other two cases as well.

      2.     Defendants’ exhibits DX027–33, DX222 (DX128 in the Alabama State

Conference of the NAACP case), DX223 (DX131 in the Alabama State Conference

of the NAACP case), DX224 (DX256 in the Alabama State Conference of the

NAACP case), and DX225 are PREADMITTED for trial.




                                          3
Case 2:21-cv-01530-AMM   Document 439   Filed 01/28/25   Page 4 of 4
